                        Case 5:22-cv-03134-NC Document 5
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Northern District of California

                                                                   )
                                                                   )
                                                                   )
                  RICHARD GAMBORD,                                 )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                                       Civil Action No. 5:22-cv-03134-NC
                                                                   )
                                                                   )
       PACIFIC CATCH, INC.; PRUNEYARD                              )
      REGENCY, LLC; PRUNEYARD OFFICE                               )
               INVESTORS LLC;                                      )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
     Pacific Catch, Inc., 2804 Gateway Oaks Dr #100, Sacramento, CA 95833
     Pruneyard Regency, LLC, 4640 Admiralty Way 5th Floor, Marina Del Rey, CA 90292
     Pruneyard Office Investors LLC, 111 Sutter Street, Suite 800, San Francisco, CA 94104



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
Tanya E. Moore, SBN 206683
MOORE LAW FIRM, P.C.
300 South First Street, Ste. 342
San Jose, California 95113
Telephone (408) 298-2000

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:     May 31, 2022
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